Case 1:22-cv-01859-JMS-MG Document 1 Filed 09/21/22 Page 1 of 14 PageID #: 1




                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
__________________________________

THE SATANIC TEMPLE

                Plaintiff
                                                       Case No. 1:22-cv-1859
       v.

ERIC HOLCOMB, in his capacity as
the Governor of Indiana; and
TODD ROKITA, in his
capacity as the Attorney General of
Indiana

                Defendants

__________________________________

                                         COMPLAINT

       Plaintiff The Satanic Temple (“TST”) alleges as follows:

                                             Parties

       1. TST is a religious association with its principal place of business in Salem,

Massachusetts.

       2. TST has over 1.5 million members worldwide, including over 11,300 members in

Indiana.

       3. TST venerates, but does not worship, the allegorical Satan described in the epic poem

Paradise Lost - the defender of personal sovereignty against the dictates of religious

authority.

       4. Members in TST adhere to seven tenets (the “TST Tenets”) commonly associated with

secular humanism:

            A. Tenet I -One should strive to act with compassion and empathy toward all




                                                1
Case 1:22-cv-01859-JMS-MG Document 1 Filed 09/21/22 Page 2 of 14 PageID #: 2




          creatures in accordance with reason.

          B. Tenet II - The struggle for justice is an ongoing and necessary pursuit that should

          prevail over laws and institutions.

          C. Tenet III - One’s body is inviolable, subject to one’s own will alone.

          D. Tenet IV - The freedoms of others should be respected, including the freedom to

          offend. To encroach upon the freedoms of another willfully and unjustly is to forgo

          one’s own.

          E.   Tenet V - Beliefs should conform to one’s best scientific understanding of the

          world. One should take care never to distort scientific facts to fit one’s beliefs.

          F.   Tenet VI - People are fallible. If one makes a mistake, one should do one’s best to

          rectify it and resolve any harm that might have been caused.

          G. Tenet VII - Every tenet is a guiding principle designed to inspire nobility in action

          and thought. The spirit of compassion, wisdom, and justice should always prevail over

          the written or spoken word.

       5. TST brings this action as the representative of female TST members residing in

Indiana who are involuntarily pregnant (“Involuntarily Pregnant Women”).

       6. The TST members wish to remain anonymous due to the risk of violent retribution

from domestic terrorists motivated by animosity to proponents of abortion and non-

Christian religious beliefs.

       7. An Involuntarily Pregnant Woman is a woman who:

           A. Is pregnant with an “unborn child” as that term is used in Indiana Code § 16-18-2-

               128.7; and

           B. The “unborn child” is not “viable” as that term is used in the Indiana Code; and




                                                  2
Case 1:22-cv-01859-JMS-MG Document 1 Filed 09/21/22 Page 3 of 14 PageID #: 3




            C. Became pregnant without her consent due to:

                    i. The legal inability to consent to sex (other than rape or incest); and/or

                   ii. The failure of her Birth Control, as hereinafter defined.

        8. Consistent with TST Tenets III and V, all of the Involuntarily Pregnant Women who

are TST members believe the fetal tissue they carry in their uterus – from conception until

viability - is part of their body and not imbued with any humanity or existence separate and apart

from that of the Involuntarily Pregnant Woman herself.

        9. Consistent with the TST Tenets III and V, none of the Involuntarily Pregnant Women

who are TST members wants to carry an “unborn child” as that term is used in Indiana Code §

16-18-2-128.7 in her uterus and believes she should abort that “unborn child” if given the

opportunity to do so safely and legally.

        10. Pregnant TST members can and do get abortions, where they are legal, to terminate

an unwanted pregnancy as an exercise of their religious beliefs pursuant to the Satanic Abortion

Ritual, a copy of which is attached as Exhibit A.

        11. Pregnant TST members in Indiana could and did get abortions pursuant to the Satanic

Abortion Ritual prior to September 15, 2022.

        12. The Satanic Abortion Ritual includes meditation on and recitation of Tenet III and

Tenet V.

        13. Involuntarily Pregnant Women are unable to engage in the Satanic Abortion Ritual

due to the criminalization of abortions in Indiana pursuant to Indiana Code § 16-34-2-7(a) (the

“Indiana Abortion Ban”)

        14. The Indiana Abortion Ban makes the act of aborting an unborn child a crime except

in cases of serious health risk to the mother, to protect the life of the mother, a lethal fetal




                                                   3
Case 1:22-cv-01859-JMS-MG Document 1 Filed 09/21/22 Page 4 of 14 PageID #: 4




anomaly or the pregnancy is the result of rape or incest. Indiana Code § 16-34-2-1. An unborn

child who cannot be lawfully aborted is referred to herein as a Protected Unborn Child.

       15. Defendant Eric Holcomb is the Governor of Indiana and responsible for enforcing the

Indiana Abortion Ban. Governor Holcomb is sued in his official capacity as Governor.

       16. Defendant Todd Rokita is the Attorney General of Indiana and responsible for

enforcing the Indiana Abortion Ban. Attorney General Rokita is sued in his official capacity as

Attorney General.

       17. Defendants act under color of state law in violation of 42 U.S.C. § 1983 when they

enforce the Indiana Abortion Ban against TST members who are Involuntarily Pregnant Women

in deprivation of their rights under the U.S. Constitution.

                                     Jurisdiction and Venue

       18. Count One seeks injunctive relief pursuant to 42 U.S.C. § 1983 for violations of the

takings clause of the Fifth Amendment as applied to Indiana pursuant to the Fourteenth

Amendment.

       19. Count Two seeks injunctive relief pursuant to the Thirteenth Amendment prohibition

of involuntary servitude, which is self-executing on the states.

       20. Count Three seeks injunctive relief pursuant to 42 U.S.C. § 1983 for violations of the

equal protection clause of the Fourteenth Amendment due to discrimination between women

who get pregnant by accident and women who report they are pregnant by rape or incest.

       21. Count Four seeks injunctive relief pursuant to 42 U.S.C. § 1983 for violations of the

equal protection clause of the Fourteenth Amendment due to discrimination between women

who get pregnant by having sex and women who get pregnant by in vitro fertilization.

       22. The Court has jurisdiction to decide Counts One, Two, Three and Four pursuant to 28




                                                 4
Case 1:22-cv-01859-JMS-MG Document 1 Filed 09/21/22 Page 5 of 14 PageID #: 5




USC § 1331 because the resolution of Plaintiff’s claims presents questions of federal law.

       23. Count Five seeks injunctive relief pursuant to Indiana Code § 34-13-9-1 et seq. (the

“Religious Freedom Restoration Act” or “RFRA”) for violation of the right of TST members in

Indiana to partake in the Satanic Abortion Ritual.

       24. The Court has jurisdiction to decide Count Five pursuant to 28 U.S.C. § 1367 because

the claims made in Count Five are so related to claims made in Counts One, Two, Three and

Four that they form part of the same case or controversy under Article III of the U.S.

Constitution.

                                    Zygotes and Blastocysts

       25. The most common method for creating an “unborn child,” as that term is used in the

Indiana Abortion Ban, starts with the deposit of a man’s sperm inside a woman’s vagina during

the course of sex.

       26. Once the man’s sperm is deposited in the woman’s vagina, it travels through her

uterus and into her fallopian tubes where it may encounter an egg produced by her ovaries.

       27. When a single sperm fuses with or fertilizes the woman’s egg, the resulting cell is

known as a zygote. The fertilization process takes about 24 hours and typically occurs about two

(2) weeks after the end of the woman’s last menstrual cycle. The end of the menstrual cycle

prior to fertilization is the starting point for measuring the course of a pregnancy commonly

known as the estimated gestational age (“EGA”).

       28. The zygote contains all of the genetic information (DNA) needed to become an adult

human being. Half of the genetic information comes from the mother’s egg and half from the

father’s sperm.

       29. The zygote is an “unborn child” as that term is used in the Indiana Abortion Ban.




                                                5
Case 1:22-cv-01859-JMS-MG Document 1 Filed 09/21/22 Page 6 of 14 PageID #: 6




          30. None of the Involuntarily Pregnant Women was aware of or consented to the creation

of a zygote in her fallopian tubes at the time of fertilization.

          31. After its creation, a zygote travels down the fallopian tube and divides

to form a ball of cells known as a blastocyst.

          32. A blastocyst is an “unborn child” as that term is used in the Indiana Abortion Ban.

          33. The blastocyst reaches the uterus around five days after fertilization or three (3)

weeks EGA. During this period, the blastocyst occupies empty space inside the fallopian tube or

uterus.

          34. Between six (6) and eleven (11) days after fertilization or three (3) to four (4) weeks

EGA, the blastocyst implants into and occupies a layer of tissue in the uterus commonly known

as the endometrium.

          35. None of the Involuntarily Pregnant Women was aware of or consented to the

implantation of a blastocyst into her uterus at the time it occurred.

          36. Prior to implantation in the endometrium, the zygote and blastocyst derive nutrients

from the woman’s egg.

          37. Once a blastocyst is implanted into and occupies the endometrium, it forms the cells

necessary for a placenta and the development of bodily organs, e.g., heart, lungs, brain, etc. This

stage is known as the embryo.1

          38. An embryo is an “unborn child” as that term is used in the Indiana Abortion Ban.

          39. An embryo is entirely dependent on the woman whose uterus it occupies for all of its

oxygen and other nutrients, as well as physical protection until it becomes a viable fetus.


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 The word “embryo” is also commonly used to describe both the zygote and blastocyst. For
purposes of this action, Plaintiff refers to an “embryo” as the fetal development stage between
blastocyst and fetus.


                                                    6
Case 1:22-cv-01859-JMS-MG Document 1 Filed 09/21/22 Page 7 of 14 PageID #: 7




       40. A pregnant woman’s body produces the hormone progesterone, which is necessary

for the endometrium to retain and nurture an embryo. If there is insufficient progesterone, the

uterus will eject the embryo, i.e., miscarry, causing the death of the embryo.

       41. During the first ten (10) weeks EGA, progesterone is produced by the Corpus Lutem,

a cyst on the woman’s ovaries. The embryo’s placenta thereafter produces progesterone.

       42. Between five (5) to ten (10) weeks EGA, the embryo has developed to the point of

becoming a fetus and remains attached to the endometrium.

       43. A fetus is an “unborn child” as that term is used in the Indiana Abortion Ban.2

       44. A fetus is entirely dependent on the woman whose uterus it occupies for all of its

oxygen and other nutrients, as well as physical protection until it becomes viable.

                                     Gestational Surrogacy

       45. Since the mid-1980’s, zygotes, blastocysts, and embryos have also been created

outside a woman’s body using in vitro fertilization (“IVF”). The man provides the sperm in a

laboratory setting and the woman provides the egg in a laboratory setting. The sperm fertilizes

the egg in a laboratory setting creating a zygote. The zygote develops into a blastocyst or

embryo outside a woman’s body in a laboratory setting.

       46. The blastocyst or embryo created outside the woman’s body using IVF is then

surgically inserted into the empty space in a woman’s uterus with the expectation it will implant

in her endometrium. This process is commonly known as gestational surrogacy.

       47. Gestational surrogacy occurs when one woman provides the egg for fertilization, and

another woman provides the use of her uterus for the incubation of the blastocyst or embryo into


2
 Indiana Code § 16-18-2-128.7 defines “fetus” as “an unborn child, irrespective of gestational
age or the duration of the pregnancy.” This legislative definition covers the zygote, blastocyst,
embryo, and fetus, as those terms are commonly defined and used in the medical literature.


                                                 7
Case 1:22-cv-01859-JMS-MG Document 1 Filed 09/21/22 Page 8 of 14 PageID #: 8




a viable child.

        48. The woman who provides the use of her uterus for the incubation of the blastocyst or

embryo created in a laboratory into a viable fetus is commonly known as a gestational carrier.

        49. Gestational surrogacy contracts are unenforceable in Indiana. Indiana Code § 31-20-

1-2. However, gestational surrogacy is not illegal in Indiana.

        50. Gestational carriers in Indiana can and do accept significant sums of money for

providing the use of their uterus to incubate a blastocyst or embryo created by IVF into a viable

fetus pursuant to lawful contracts entered into and governed by the laws of other states.

        51. Indiana Code § 16-34-1-0.5 states that the Indiana Abortion Ban does not apply to “in

vitro fertilization.”

        52. The only economic use for a uterus is being a gestational carrier.

        53. An Involuntarily Pregnant Woman cannot be a gestational carrier because her uterus

is already in use.

                                          Birth Control

        54. The Involuntarily Pregnant Women used a variety of methods of contraception to

avoid pregnancy (“Birth Control”).

        55. Each of the Involuntarily Pregnant Women reasonably believed the Birth Control she

used would be effective.

        56. The Birth Control used by Involuntarily Pregnant Women failed and they became

pregnant without their consent.




                                                 8
Case 1:22-cv-01859-JMS-MG Document 1 Filed 09/21/22 Page 9 of 14 PageID #: 9




                                      Count One:

              The Indiana Abortion Ban Unconstitutionally Takes the Property
               of Involuntarily Pregnant Women Without Just Compensation.

       57. Plaintiff repeats and realleges ¶¶ 1 to 56.

       58. The uterus of an Involuntarily Pregnant Woman is a tangible thing in which she has

property rights, including without limitation, the property right to:

           A. Have her uterus removed for any purpose, including without limitation, changing

               her sex; or

           B. Rent it out to a third party as a gestational carrier; or

           C. Retain any blastocyst, embryo, or nonviable fetus in her uterus; or

           D. Exclude any blastocyst, embryo, or nonviable fetus from her uterus;

           E. Remove any blastocyst, embryo, or nonviable fetus from her uterus.

       59. The property right of an Involuntarily Pregnant Woman to exclude or remove a

Protected Unborn Child from her uterus cannot be taken by the State of Indiana without just

compensation pursuant to the Takings Clause of the Fifth Amendment to the U.S. Constitution.

       60. The property right to exclude or remove a Protected Unborn Child from a woman’s

uterus has substantial commercial value as established by over twenty-five years of experience

with gestational surrogacy in Indiana.

       61. The Indiana Abortion Ban makes the exclusion or removal of a Protected Child from

the uterus of an Involuntarily Pregnant Woman a crime.

       62. The Indiana Abortion Ban causes a taking of the property rights of an Involuntarily

Pregnant Woman by preventing her from lawfully and safely exercising her property rights to

exclude or remove a Protected Unborn Child from her uterus.

       63. The Indiana Abortion Ban fails to provide just compensation to an Involuntarily



                                                  9
Case 1:22-cv-01859-JMS-MG Document 1 Filed 09/21/22 Page 10 of 14 PageID #: 10




Pregnant Woman for the taking of her property rights in her uterus.

          64. There is no procedure available under Indiana law for an Involuntarily Pregnant

Woman to obtain just compensation for the taking of her property rights in her uterus by the

Indiana Abortion Ban.

          65. The Indiana Abortion Ban is unconstitutional as applied to Involuntarily Pregnant

Women under the takings clause of the Fifth Amendment and the Fourteenth Amendment.

                                        Count Two:

               The Indiana Abortion Ban Subjects Involuntarily Pregnant Women
               to Involuntary Servitude in Violation of the Thirteenth Amendment.

          66. Plaintiff repeats and realleges ¶¶ 1 to 65.

          67. Each Involuntarily Pregnant Woman provides the blastocyst, embryo or fetus that

implants in her uterus with the following services:

             A. Hormones, including but not limited to progesterone.

             B. Oxygen.

             C. Nutrients.

             D. Antibodies.

             E. Body heat.

             F. Protection from external shocks and intrusions.

          68. The Indiana Abortion Ban causes each Involuntarily Pregnant Woman to provide the

services necessary to sustain the life of a Protected Unborn Child that occupies and uses her

uterus.

          69. The Indiana Abortion Ban provides no compensation or consideration to an

Involuntarily Pregnant Woman for providing the services necessary to sustain the life of a

Protected Unborn Child that occupies and uses her uterus.



                                                    10
Case 1:22-cv-01859-JMS-MG Document 1 Filed 09/21/22 Page 11 of 14 PageID #: 11




       70. Those services have a substantial commercial value in Indiana as established by over

twenty-five years of experience with gestational surrogacy.

       71. The Indiana Abortion Ban is unconstitutional as applied to the Involuntarily Pregnant

Women because they are put into a condition of involuntary servitude in violation of the

Thirteenth Amendment.

                                     Count Three:

                 The Indiana Abortion Ban Unconstitutionally Discriminates
                  Between Women Who Become Pregnant by Accident and
                        Those Who Are Pregnant by Rape or Incest

       72. Plaintiff repeats and realleges ¶¶ 1 to 71.

       73. All women have the fundamental right to use contraception and engage in sex just for

the pleasure and intimacy it brings and without any purpose or intent to become pregnant

(“Protected Sex”).

       74. The Involuntarily Pregnant Women engaged in Protected Sex but became pregnant

without their consent due to the failure of their Birth Control.

       75. The Indiana Abortion Ban imposes criminal penalties on anyone who provides an

abortion to an Involuntarily Pregnant Woman.

       76. The Indiana Abortion Ban does not apply to anyone who provides an abortion in the

first ten (10) weeks of EGA to a pregnant woman who is pregnant due to rape or incest. Indiana

Code § 16-34-2-1(A)(2)(a).

       77. The Indiana Abortion Ban discriminates between two different classes of women who

are pregnant without their consent – women who are pregnant by accident and women who are

pregnant by rape or incest.

       78. This discrimination infringes upon the fundamental right of Involuntarily Pregnant




                                                 11
Case 1:22-cv-01859-JMS-MG Document 1 Filed 09/21/22 Page 12 of 14 PageID #: 12




Women to engage in Protected Sex because they are forced to pay the physical and financial

costs of being pregnant without their consent.

        79. There is no compelling state interest served by this discrimination.

        80. Whatever state interest this discrimination purports to serve can be accomplished by

means less intrusive on the fundamental right of Involuntarily Pregnant Women to engage in

Protected Sex.

        81. The Indiana Abortion Ban violates the equal protection clause of the Fourteenth

Amendment.

                                      Count Four:

             The Indiana Abortion Ban Unconstitutionally Discriminates Between
                    Women Who Become Pregnant by Protected Sex and
                   Women Who Become Pregnant by In Vitro Fertilization

        82. Plaintiff repeats and realleges ¶¶ 1 to 81.

        83. Women who get pregnant by in vitro fertilization are exempt from Article 16 of the

Indiana Code, including the Indiana Abortion Ban.

        84. The Indiana Abortion Ban discriminates between two different classes of pregnant

women – women who are pregnant because they engaged in Protected Sex and women who are

pregnant by in vitro fertilization.

        85. This discrimination adversely affects the exercise of the fundamental right of

Involuntarily Pregnant Women to engage in Protected Sex because they are forced to pay the

physical and financial costs of being pregnant without their consent.

        86. There is no compelling state interest served by this discrimination.

        87. Whatever state interest this discrimination purports to serve can be accomplished by

means less intrusive on the fundamental right of Involuntarily Pregnant Women to engage in




                                                  12
Case 1:22-cv-01859-JMS-MG Document 1 Filed 09/21/22 Page 13 of 14 PageID #: 13




Protected Sex.

          88. The Indiana Abortion Ban violate the equal protection clause of the Fourteenth

Amendment.

                                        Count Five:

    The Indiana Abortion Ban Violates the Indiana Religious Freedom Restoration Act
          Because It Makes the Exercise of the Satanic Abortion Ritual a Crime.

          89. Plaintiff repeats and realleges ¶¶ 1 to 88.

          90. Members of TST hold the religious belief that a zygote, blastocyst, embryo, and

nonviable fetus are a part of a woman’s body and not imbued with an existence, humanity, or

spiritual life separate and apart from the mother. This is belief is grounded in TST Tenet V that

beliefs should conform to one’s best scientific understanding of the world.

          91. Members of TST hold the religious belief that an unwanted zygote, blastocyst,

embryo, or nonviable fetus should be removed from the body of a pregnant woman. This belief

is grounded in TST Tenet III that a woman’s body is inviolable, subject to her own will alone.

          92. When a member of TST has an unwanted pregnancy, she exercises her religious

beliefs as expressions of Tenets III and V by engaging in the Satanic Abortion Ritual.

          93. The Indiana Abortion Ban effectively prohibits the exercise of the Satanic Abortion

Ritual.

          94. There is no compelling state interest served by prohibiting the Satanic Abortion

Ritual.

          95. There are less restrictive means of furthering the state interests served by the Indiana

Abortion Ban than prohibiting the Satanic Abortion Ritual.

          96. The Indiana Abortion Ban violates the Indiana Religious Freedom Restoration Act,

Indiana Code § 73-401 et seq.



                                                    13
Case 1:22-cv-01859-JMS-MG Document 1 Filed 09/21/22 Page 14 of 14 PageID #: 14




WHEREFORE

       Plaintiff respectfully requests the entry of an order permanently enjoining Defendants

from enforcing the Indiana Abortion Ban against anyone who provides an abortion to an

Involuntarily Pregnant Woman who is also a member of TST.

September 21, 2022

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                                               14
